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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

RANDY BRITTON,

      Plaintiff(s),

v.                                              Case No: 5:20-cv-552-Oc-30PRL

ALLIANCEONE RECEIVABLES
MANAGEMENT, INC.,

      Defendant(s).
___________________________________/

          CASE MANAGEMENT AND SCHEDULING ORDER

        This cause came on for consideration concerning completion of discovery and the
scheduling of pretrial procedures and trial. The Court has considered the positions of the
parties as set forth in their Case Management Report, and hereby enters the following
scheduling and case management requirements whose provisions are very precise and shall
be strictly adhered to. Accordingly, it is ORDERED:

        1.     The parties are directed to meet the agreed upon terms and time limits set
forth in their Case Management Report, as noted below (including any exceptions deemed
appropriate by the Court):

         Third-Party Joinder Cut-Off:             April 5, 2021
         Plaintiff(s) Expert Disclosure:          July 12, 2021
         Defendant(s) Expert Disclosure:          August 12, 2021
         Discovery Deadline:                      September 13, 2021
         Dispositive Motion Deadline:             October 13, 2021
         Daubert Motion Deadline                  October 13, 2021

       2.     Parties shall take heed that motions to amend any pleading or a motion for
continuance of any pretrial conference, hearing or trial filed after issuance of this Case
Management and Scheduling Order are disfavored. See Local Rules 3.05(c)(2)(E) and
3.05(c)(3)(D). If evidence arises during fact discovery that would support a motion to
amend a pleading, the moving party shall file a motion to amend within fourteen (14) days

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of learning of the evidence. Motions to amend after that fourteen (14) day window will
be governed by a good cause standard. See Fed. R. Civ. P. 16(b)(4).

        3.    A Pre-Trial Conference will be held before the Honorable James S.
Moody, Jr., United States Courthouse, 801 North Florida Avenue, Courtroom 17, Tampa,
Florida 33602, on WEDNESDAY, FEBRUARY 2, 2022, at 10:30 A.M. (Pre-
trial conferences generally last fifteen minutes.)

       4.    The parties shall comply with Local Rule 3.06 with respect to their joint Pre-
Trial Statement, which is due no later than seven (7) days before the date of the Pre-Trial
Conference.

        5.     The Pre-Trial Conference shall be attended by counsel who will act as lead
trial counsel in the case and who is vested with full authority to make and solicit disclosure
and agreements touching all matters pertaining to the trial.

      6.      This case is set for JURY TRIAL in Courtroom 17 of the United States
Courthouse, 801 North Florida Avenue, Tampa, Florida 33602, during the MARCH
2022, trial term before the Honorable James S. Moody, Jr. (Trial terms run a calendar
month.)

        7.      Any motions in limine shall be filed with the Clerk of Court no later than
three (3) weeks before the date of the Pre-Trial Conference. The parties are limited to
filing only one (1) motion in limine that includes each ground for the exclusion of evidence.

        8.     NO LATER than two (2) business days prior to the first day of trial, counsel
shall electronically file proposed voir dire, jury instructions, and verdict forms, serve copies
on opposing counsel, and provide the courtroom deputy with a copy for use by the Judge.
Counsel shall e-mail proposed jury instructions and verdict forms in Word format to:
chambers_flmd_moody@flmd.uscourts.gov.

              (a)     Trial Brief: The Court does not require Trial Briefs or Proposed
                      Findings of Fact and Conclusions of Law.

              (b)     If case is a JURY trial, the following shall be provided no later than
                      two (2) business days prior to the date on which trial is set to
                      commence:




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                   (1)      A concise (one paragraph preferably) joint or stipulated
                            statement of the nature of the action to be used in providing a
                            basic explanation of the case to the jury venire;

                   (2)      Proposed Voir Dire (the Court will conduct the voir dire and,
                            in addition to the usual more general questions, will without
                            initiation by counsel ask more particular questions suggested
                            by the nature of the case; counsel should, therefore, be selective
                            in the jury questions submitted to the Court for consideration);

                   (3)      A complete set of all written Proposed Jury Instructions
                            (which shall bear a cover sheet with the complete style of the
                            case and appropriate heading designating the submitting party;
                            there shall be no more than one instruction per page and
                            contain, at the end of each such instruction, citation of
                            authorities, if any); they shall be sequentially numbered and
                            party-identified (e.g., Plaintiff's Requested Instruction No. 1);
                            and

                   (4)      Proposed Verdict Form

             (c)   If case is a NON-JURY trial, Proposed Findings of Fact and
                   Conclusions of Law are required only if the Judge requests them. If
                   they are requested, each shall be separately stated in numbered
                   paragraphs; Findings of Fact shall contain a detailed listing of the
                   relevant material facts the party intends to prove, in a simple, narrative
                   form; Conclusions of Law shall contain a full exposition of the legal
                   theories relied upon by counsel. At the end of trial, Counsel shall e-
                   mail the parties' Proposed Findings of Fact and Conclusions of Law
                   in         Word          format          to         Chambers            to:
                   chambers_flmd_moody@flmd.uscourts.gov.

       DONE AND ORDERED in Tampa, Florida, on January 14, 2021.




Copies furnished to:
Counsel/Parties of Record

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